                            3:21-mj-03008-TSH # 14                Page 1 of 1
                                                                                                                       E-FILED
                                                                              Monday, 01 February, 2021 04:53:20 PM
                                                                                       Clerk, U.S. District Court, ILCD




                             UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF ILLINOIS
                                        OFFICE OF THE CLERK
                                              TEL: 217.492.4020
                                              FAX: 217.492.4028



                                           February 1, 2021



U.S. District Court for the District of Columbia
Attn: Criminal Division
333 Constitution Avenue N.W.
Washington, D.C. 20001

RE:     USA v. Jason Gerding            Central District of Illinois Case # 21-mj-3008-01
        USA v Christina Gerding         Central District of Illinois Case # 21-mj-3008-02

                                         District of Columbia Case #21-mj-148

Dear Clerk of Court:

On, January 28, 2021 , this Court held Rule 5 proceedings for the above-named defendants who
have been charged in your court. We are an electronic filing court and you may find any
documents you need by accessing our electronic case file at the following address:
http://ecf.ilcd.uscourts.gov

If you have any questions, please feel free to contact the Springfield office.

Very truly yours,

SHIG YASUNAGA,
CLERK OF COURT




      Peoria Division          Urbana Division              Springfield Division          Rock Island Division
      100 N.E. Monroe St.      201 S. Vine St.              600 E. Monroe St.             (Temporarily relocated for
      Room 305                 Room 218                     Room 151                      mail and hearings to):
      Peoria, IL 61602         Urbana, IL 61802             Springfield, IL 62701         131 E. 4th Street, Rm 250
      309.671.7117             217.373.5830                 217.492.4020                  Davenport, IA 52801
                                                                                          309.793.5778
